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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                              CASE NO. 3:00CR48LAC

PHILLIP NESMITH

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on August 1, 2005
Motion/Pleadings: EX PARTE MOTION TO REVERSE 1279-1 ORDER EXPARTE
MOTION IN SUPPORT OF #1274 MOTION TO COMPEL PRODUCTION AND
IMPORTANT ISSUES BEFORE THE COURT
Filed byDEFENDANT PRO SE                   on 6/9/05       Doc.# 1302
RESPONSES:
                                           on              Doc.#
                                           on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                           WILLIAM M. McCOOL, CLERK OF COURT

                                               /s//MaryMaloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon     consideration    of   the    foregoing,      it   is     ORDERED    this   1 st   day   of
August, 2005, that:
(a) The relief requested is DENIED.
(b) Complaints against attorneys should be filed with the Florida Bar at 651 East
Jefferson Street, Tallahassee, Florida 32399.




                                                                s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
